           Case 17-12872-elf       Doc 36
                                        Filed 06/09/22 Entered 06/09/22 15:17:48                        Desc Main
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                              IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE EASTERN DISTRICT OF PENNSYLVANIA

In RE: DEBORAH SCALEN
                                                  : CHAPTER 13
                                                  :
                                                  : BANKRUPTCY NO. 17-12872-ELF
                                                  :
                                         NOTICE OF FINAL CURE PAYMENT


Pursuant to Bankruptcy Rule 3002.1(f), KENNETH E. WEST, Chapter 13 Standing Trustee gives notice that the amount
required to cure the prepetition default in the claim below has been paid in full and the debtor(s) have completed all
payments under the plan.


Creditor: BANK OF AMERICA
                                                                                                       CLAIM# 5


A Response Is Required by Bankruptcy Rule 3002.1(g)
Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their counsel, and the trustee, within
21 days after service of this notice, a statement indicating whether the creditor agrees that the debtor(s) have paid in full
the amount required to cure the default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees,
costs, and escrow amounts due, and (ii) consistent with § 1322(b)(5) of the Bankruptcy Code, are current on all
postpetition payments as of the date of the response. Failure to file and serve the statement may subject the creditor to
further action of the court, including possible sanctions.


                                                                                    Respectfully submitted,
6/9/2022
                                                                                    /s/ KENNETH E. WEST

                                                                           KENNETH E. WEST, Esquire
                                                                           Chapter 13 Standing Trustee
                                                                           P.O. Box 40837
                                                                           Philadelphia PA 19107
                                                                           Phone: 215-627-1377
